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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


   Civil Action No. 16-cv-02214-WYD-NYW

   PAMELA RIETZ,

           Plaintiff,

   v.

   ORACLE AMERICA, INC., a Delaware corporation,

         Defendant.
   ______________________________________________________________________________

                        JOINT STIPULATION OF DISMISSAL
   ______________________________________________________________________________

           Pursuant to the Court’s July 20, 2017 Order (Doc. 48), the parties hereby advise the Court

   that they have reached a settlement during the pendency of arbitration and, pursuant to

   Fed.R.Civ.P. 41(a)(1)(A)(ii), stipulate to the dismissal of this action with prejudice, each party to

   bear her or its own attorney fees and costs.



   Respectfully submitted: April 12, 2018

        s/ Charlotte N. Sweeney                          s/Christine Lamb
        Charlotte N. Sweeney                             Christine Lamb
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                                   CERTIFICATE OF SERVICE

        I certify that on April 12, 2018, I filed the foregoing with the Clerk of Court using the
   CM/ECF system which will send notification of such filing to the following e-mail address:

   Christine Lamb
   Fortis Law Partners, LLC
   clamb@fortislawpartners.com

   Attorney for Defendant
                                                       s/DeAnn Carmickle
                                                       DeAnn Carmickle




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